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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                                )
MAINE COMMUNITY HEALTH OPTIONS, )
                                )
                Plaintiff,      )
                                )                       Case No. 20-458
     v.                         )                       (Judge Davis)
                                )
THE UNITED STATES,              )
                                )
                Defendant.      )
                                )

                                    JOINT STATUS REPORT

       Pursuant to the Court’s January 23, 2023 Order, the parties respectfully submit this Joint

Status Report. The January 23, 2023 Order continued the stay in these proceedings and directed

the parties to file a joint status report proposing further proceedings by March 10, 2023.

       In July 2021, shortly after the U.S. Supreme Court denied the petition for writ of

certiorari (No. 20-1162) and the Government’s conditional cross-petition (No. 20-1432) in

Maine Community Health Options v. United States, which sought review of the Federal Circuit’s

CSR decision in Community Health Choice, Inc. v. United States, Nos. 2019-1633, -2102, 2020

WL 4723757 (Fed. Cir. Aug. 14, 2020), the parties began discussions regarding the next steps in

this litigation. Several different attorneys, collectively representing a large number of plaintiff

health plans—including the plaintiff here—engaged Government counsel in discussions

regarding potential resolution of the CSR matters through settlement.

       The parties’ resolution efforts are progressing. On December 3, 2021, Plaintiffs’ counsel

shared a proposal with the Government to attempt to collectively resolve the damages and

mitigation issues in the CSR cases without further litigation or to significantly streamline

resolution of the remaining damages/mitigation issues in these cases. On April 28, 2022, the
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Government responded to Plaintiffs’ proposal, and Plaintiffs responded on May 23, 2022.

Thereafter, the parties have convened by phone multiple times, and the Government produced

certain settlement-related data and other information to the plaintiffs on July 22, 2022. The

parties participated in a settlement-related call on September 1, 2022, and the CSR Plaintiffs

followed that call with a letter to the Government on September 15, 2022. The Government

responded to CSR Plaintiffs by letter dated November 10, 2022. On January 10, 2023, the CSR

Plaintiffs responded to the Government’s letter. The parties participated in conference calls on

Thursday, January 19, 2023, and Friday, February 24, 2023 to discuss the latest settlement

proposal.

        The parties respectfully request that the stay of this matter continue for an additional 60

days, at which time the parties will file a joint status report. Good cause exists for the Court to

continue the existing stay of this case. The parties are working together to determine whether

they may efficiently resolve this matter without further litigation or can at least streamline the

damages and mitigation issues in this case. The parties are aware that this negotiation process

has been a long one. But they maintain that the number of stakeholders, and the complexity of a

global resolution, necessitates the careful back-and-forth that has thus far made progress on a

potential resolution. The parties have significantly narrowed the issues to be resolved and

believe that they are close to a final determination as to whether the methodology they have been

discussing can be used. For this reason, the parties respectfully request that the stay continue—if

a resolution is possible, it will conserve judicial resources not only in this proceeding but in the

approximately 25 proceedings currently before the Court. The parties therefore jointly propose

that they file a status report by May 12, 2023, in which the parties will update the Court on the

status of their efforts to resolve this matter.



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March 10, 2023                          Respectfully submitted,

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